       Case: 3:21-cv-00096-wmc Document #: 147 Filed: 10/22/21 Page 1 of 3




                                                                                          Thomas C. Jensen
October 22, 2021
                                                                                   TJensen@perkinscoie.com
                                                                                        D. +1.202.654.1718
                                                                                        F. +1.202.624.9599

U.S. District Court Judge William M. Conley
Western District of Wisconsin
120 North Henry Street
Madison, WI 53703
Single
Re:    Case Nos. 21-cv-00096-wmc & 21-cv-00306-wmc (cons.)
       National Wildlife Refuge Association, et al. v. Rural Utilities Service, et al.
       Update Regarding State Court Litigation on Cardinal-Hickory Creek Transmission
       Line

Dear Judge Conley:

        Intervenor-Defendants, American Transmission Company LLC and ATC Management
Inc., ITC Midwest LLC, and Dairyland Power Cooperative (“Co-owners”) are writing in
response to Plaintiffs Update Regarding State Court Litigation on Cardinal-Hickory Creek
Transmission Line, ECF No. 140 (“State Case Update”).

        As Plaintiffs explain in their State Case Update, Plaintiffs filed for a temporary injunction
in the state case on October 8, 2021, the same day Plaintiffs filed the motion for a preliminary
injunction in this Court. County of Dane, et al. v. Public Service Commission of Wisconsin, Case
No. 19-cv-3418 (Wis. Cir. Ct. Dane Cnty.). Circuit Court Judge Jacob Frost held a hearing on
Monday, October 18, 2021. The State Court ruled orally on the Motion. The transcript from the
hearing is attached as Exhibit A.

         Co-owners agree that the State Court granted Plaintiff’s motion for a temporary
injunction. However, Plaintiff’s Update Letter misstates the grounds on which the State Court
granted the temporary injunction. During the October 18, 2021 motion hearing, the State Court
stated that the basis for its finding of a “reasonable likelihood of success” was related to
Petitioners’ bias claims only, and not as to the merits of their overall claims. Exhibit A at 80
(“my holding is that, because of the likelihood of success on the bias issue, all of the factors are
met to grant a temporary injunction.”); see also id. at 76 (“I'm not making a finding of a
reasonable probability of success on the merits review. It’s too close of a call for me to say that
it’s so clear that I should grant a temporary injunction.”).

        Moreover, the State Case has no bearing on the Motion for Preliminary Injunction
currently before this Court because the State Case involves distinct claims brought under
Wisconsin State laws and the temporary injunction was ordered in part under Wis Stat 196.43,
which provides special procedures for injunctions involving public utilities.
      Case: 3:21-cv-00096-wmc Document #: 147 Filed: 10/22/21 Page 2 of 3




October 22, 2021
Page 2


Sincerely,




Thomas C. Jensen

Attorney for Intervenor-Defendants American Transmission Company LLC by its corporate
manager, ATC Management Inc., ITC Midwest LLC and Dairyland Power Cooperative.
         Case: 3:21-cv-00096-wmc Document #: 147 Filed: 10/22/21 Page 3 of 3



                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 22, 2021, I electronically filed the foregoing document

with the Clerk of Court using the Court’s ECF system, which will serve the document on all

counsel of record registered for electronic filing in the above-captioned proceeding.



Dated: October 22, 2021
                                                       /s/ Thomas C. Jensen
                                                       Thomas C. Jensen
